EXHIBIT P
               DEPARTMENT OF HEALTH AND HUMAN SERVICES
                     DEPARTMENTAL APPEALS BOARD
                          APPELLATE DIVISION


TEXAS HEALTH AND HUMAN SERVICES            §
COMMISSION,                                §
         Appellant,                        §
                                           §
v.                                         §      DOCKET NO. A-17-51
                                           §
CENTERS FOR MEDICARE &                     §
MEDICAID SERVICES,                         §
          Respondent.                      §


                              BRIEF OF INTERVENORS

 ON BEHALF OF BAYLOR HEALTH CARE          ON BEHALF OF NORTH TEXAS
 SYSTEM, METHODIST HOSPITALS OF           DIVISION, INC.
 DALLAS, AND TEXAS HEALTH
 RESOURCES


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                                    STATEMENT OF THE CASE

       The Texas Health and Human Services Commission (HHSC) brought this appeal to

challenge a $26.8 million disallowance of federal financial participation (FFP) by the Centers for

Medicare & Medicaid Services (CMS) that threatens to significantly disrupt the provision of

healthcare to indigent patients in Dallas County, Tarrant County, and across the State of Texas. In

brief. CMS inconsistently argues that the provision of indigent care by private providers, when

that care was formerly provided by local government entities, constitutes provider-related

donations if the local government entity supports the Medicaid program by providing the non-

federal share through an intergovernmental transfer (IGT). Under the public/private collaborative

model being challenged by CMS, private hospitals have expanded charity care to low-income and

indigent members of the community, which reduces the amount local governments need to spend

on such care. The local government entity is able to use funds it previously spent on care to the

indigent to increase the amount Texas spends on the Medicaid program.

       Contrary to a decade of consistent CMS determinations that these public/private

collaborations comply with federal requirements, CMS now contends the collaborations are

impermissible provider-related donations. However, the public/private collaborations do not

involve a provider-related donation because the private providers deliver services directly to

patients and do not make payments, directly or indirectly, in cash or in kind to any of the

governmental entities involved in the collaboration nor do the private providers assume the legal

obligations of any governmental entity participating in the collaboration. CMS’ abrupt reversal is

inconsistent with the statutory and regulatory language as well as CMS’ prior longstanding policy.




                                                3
                                           INTRODUCTION

       Public/private collaborations involve the governmental sector and the private sector

sharing the effort and cost of delivering care to indigent patients. The private sector provides

professional hands-on care givers to treat the indigent, and the governmental sector provides the

facilities and infrastructure within which these professionals provide some services (many services

are provided at the healthcare professionals' personal office). Prior to the collaboration concept,

the governmental sector generally provided the facilities for treatment in addition to contracting

with and paying professional care givers to treat some patients while the private hospitals

duplicated this effort without any coordination.

       Beginning more than ten years ago, HHSC worked jointly with CMS to structure

innovative methods by which private hospitals and local government entities could form

collaborations to coordinate ways to better utilize their individual resources in their communities.

Under the collaborative model that Texas developed with CMS, private providers have voluntarily

expanded the amount of charity care they provide to low-income and indigent members of the

community by hundreds of thousands of dollars a year, which reduces the amount local

governments choose to spend on care to the non-Medicaid indigent populations, leaving a surplus

of local tax revenue that the governmental entity may use, at its sole discretion, to support the

Texas Medicaid program. CMS has consistently approved this basic collaborative structure. For

example:




                                                   4
     Date                         CMS Direction and < iti responding State Disclosures                                      Source

                   “The provision of these indigent services by the Affiliated Hospitals directly to              Letter from David Balland,
                   indigent patients will alleviate a portion of the Local Taxing Entity's expense of                 HHSC. to Andrew
 June 30, 2006
                   providing indigent care. The Local Taxing Entity will utilize part of its ad valorem tax        Fredrickson, CMS at 4-5
                   revenue dedicated to healthcare needs to fund the Medicaid program ....”                               [Exhibit 5|.

                   “Local government tax dollars that are not contractually committed for the purpose of          72 Fed. Reg. 29748, 29762
 May 29, 2007      indigent care services or any other non-Medicaid activity can be directly transferred          (May 29, 2007) - final rule
                   by the local government to a State as the non-Federal share of Medicaid payments.”              vacated on other grounds.


                   “The private hospital UPL program in Texas is built on the premise that private
                   hospitals may provide charity care to indigent patients in a way that relieves local
                                                                                                                  Letter from Chris Traylor,
                   government entities from incurring expenses for such care that they might otherwise
February 4, 2008                                                                                                 HHSC, to Bill Brooks, CMS
                   incur (without relieving local government entities of any actual obligations they might
                                                                                                                      at 2 [Exhibit 13[.
                   have under State law or under contracts). The local government entities, thus relieved,
                   are able to contribute toward the support of Medicaid providers in their communities.”



                   “(The governmental entity’s] contracts were terminated, after which the private
                   hospitals, generally through a nonprofit healthcare organization, entered into new             Letter from Chris Traylor,
February 4, 2008   contracts with the providers .... With the (government entity’s] money no longer              HHSC, to Bill Brooks, CMS
                   being spent under the terminated contracts, the district was able to make an IGT to                at 5 (Exhibit 13|.
                   fund increased Medicaid payments."


                   “[A] private hospital that receives UPL supplemental payments may provide indigent
                                                                                                                  Letter from Chris Traylor,
                   care by entering into its own arrangements (contracts or otherwise) with healthcare
  May 1,2008                                                                                                      HHSC, to James Frizzcra,
                   providers that had previously provided indigent care services to the transferring
                                                                                                                   CMS at 4 [Exhibit 14],
                   governmental entity.”

                   “The Private Hospitals will enter into their own arrangements (contractual or
                                                                                                                  Letter from Don Gregory,
                   otherwise) with the individuals or entities who provide care directly to low income and
                                                                                                                    La. Dep't of Health &
August 20, 2010    needy patients, including .... The provision of the low income and needy services by
                                                                                                                 Hosps., to Bill Brooks, CMS
                   the Private Hospitals directly to patients will result in the alleviation of the expense of
                                                                                                                     at 2-3 (Exhibit 19|.
                   the public funds the governmental entity previously expended on this care.”

                   “[A] governmental entity and Private Hospitals [j develop a plan for the Private              Letter from Charles Duarte,
                   Hospitals to reduce or alleviate the need for the governmental entity to provide care to        Nev. Dep't of Health &
 March 8, 2011     the low income and needy patients that do not qualify for Medicaid benefits, thereby            Human Scrvs., to Mark
                   allowing the governmental entity to utilize its public funds to increase support for the      Wong, CMS at 1-2 [Exhibit
                   Medicaid program.”                                                                            _________ 24],_________
                                                                                                                   La. Dep't of Health &
                   “DHH does not believe that the L1NCCA arrangement mentioned in the currently                     Hosps., Responses to
                   approved State Plan involves a provider related donation. The participating hospital             Informal Request for
 June 17, 2014
                   has voluntarily decided to take steps to ensure that low income and needy patients have         Additional Information
                   access to, and receive, high quality hospital services.”                                        (1RA1)TN 14-25 at 5
                                                                                                                        [Exhibit 28[,
                   “We have reviewed the proposed State plan amendment (SPA) to Attachment 4.19-A
                   of your Medicaid State plan [which states in part, ‘[A] hospital may qualify for this           Letter from Kristin Fan,
 November 30,      category by... increase) ing] its provision of inpatient Medicaid and uninsured services      CMS to Jen Steele, La. Dep’t
    2016           by providing services that were previously delivered and terminated or reduced by a           of Health & Hosps. [Exhibit
                   state owned and operated facility* | .... Based upon the information provided by the                      29],
                   State, Medicaid State plan amendment 16-0014 is approved effective July 1, 2016.”




                                                                   5
        In 2014, CMS issued State Medicaid Director Letter (SMDL) #14-004, which states:

        In some cases, the 1GT is derived from funds that the government entity previously
        would have spent on providing the services that are now being provided by the
        private entity. These funds would not be available if not for the public-private
        partnership agreements. As described in further detail below, this type of
        arrangement would not be considered a bona fide donation under Medicaid
        requirements.1

SMDL #14-004 is a 180-degree reversal in CMS’ position since 2005 without any amendments to

the portions of the Act defining or governing impermissible provider-related donations, and

without notice and comment rulemaking revising the corresponding regulations. The definition of

 provider-related donation” remains consistent with the federal regulations in effect between 2006

and 20162 when CMS approved and reapproved numerous times the collaborations in Texas and

other states. Similarly, the Texas programs remain unchanged and consistent with the disclosures

made to CMS from 2005 through today.

        CMS based its numerous State Plan Amendment (SPA) approvals and its disallowance on

the same authorities and disclosures. In essence, CMS changed the definition of a provider-related

donation through SMDL #14-004 and relies on, without any change in statute or regulation, SMDL

#14-004 as the legal basis to support its disallowance determination.

        The Departmental Appeals Board (Board) should reverse CMS’ disallowance because: (1)

the public/private collaborations do not result in a provider-related donation; (2) CMS does not

have the authority to redefine the term provider-related donation; and (3) relying on SMDL #14-

004 as the basis for the disallowance violates the Administrative Procedures Act (APA) and is

arbitrary and capricious.




1 Intervenor Exhibit I—SMDL #14-004 (May 9. 2014), at 3.
2 42 U.S.C. § 1396b(w) (West 2016); 42 C.F.R. §§ 433.52,433.54 (West 2016).

                                                      6
                                    FACTUAL BACKGROUND

I.        Background

          A.     CMSfirst approved Texas ’ public/private collaborative model in 2005.

          In 2005, HHSC proposed an arrangement to CMS under which private hospitals, at their

own discretion, chose to provide care directly to indigent patients whose care was previously

funded by a local governmental entity. In some communities where the governmental entity had

already developed the infrastructure to deliver indigent care, the collaborative providers concluded

that retaining that infrastructure best served the indigent population, so that the historical sites of

care for low-income patients were not disrupted.         Therefore, the private hospitals in those

communities elected to bear a greater share of the costs of professional services to the indigent

within the existing infrastructure while the public hospitals bore the cost of the facility component

of care, furnishing the physical space for the hands-on professionals engaged by private entities to

deliver some of the more acute care.

          With the private hospitals’ expansion of charity care to these indigent patients, the local

governmental entities could, at their sole discretion, use a portion of the funds they formerly spent

on individual professionals to support the Medicaid program. From both a legal and practical

standpoint, the local government entity had no obligation to provide services to low-income

patients or transfer funds in support of the Medicaid program; therefore, the expansion of charity

care by the private sector did not result in the donation of anything of value to the governmental

entity.

          The expanded charitable efforts of, and collaboration between, the public and private

sectors did result, however, in enormous benefits to local communities struggling to provide care

for indigent populations, exacerbated by the State’s refusal to expand Medicaid under the

Affordable Care Act.

                                                   7
         To effectuate the public/private collaborations, HHSC submitted two proposed

amendments to its Medicaid state plan under which private hospitals could receive Medicaid

supplemental payments (one for inpatient care and the other for outpatient care).3 HHSC and

hospital representatives independently discussed the public/private collaborations with CMS

officials in the Dallas regional office and Baltimore central office, followed by the formal CMS

review of the Texas SPAs.

         During the formal review of the Texas SPAs, CMS requested additional information (RAI),

and HHSC provided comprehensive responses explaining the collaborative arrangements and their

intent.4 In its June 2006 RAI response, HHSC made clear its rationale for implementing the SPAs:

         Due to reductions in Medicaid spending and a growing Medicaid and uninsured
         population (“indigent”), there is a growing gap between the costs hospitals incur
         for treating indigent patients and the reimbursement they receive. In light of the
         growing gap between the cost of care and reimbursement, the Local Taxing Entity
         in certain Texas communities joined with private safety-net hospitals to design a
         collaborative program to more fully fund the Medicaid program under current law
         and ensure the availability of quality healthcare services for the indigent
         population.5

Notably, HHSC’s RAI responses plainly described a key aspect of these collaborations—private

hospitals’ expansion of indigent care that local governments previously provided:

         The provision of these indigent services6 by the Affiliated Hospitals directly to
         indigent patients will alleviate a portion of the Local Taxing Entity’s expense of




3 Intervenor Exhibit 2—Letter from David Balland, State Medicaid Dir., HHSC, to Andrew Fredrickson, Assoc. Reg’l
Adm’r, CMS (June 29, 2005) (transmitting State Plan Amendment [TNJ-05-001); Intervenor Exhibit 3—Letter from
David Balland, State Medicaid Dir., HHSC, to Andrew Fredrickson, Assoc. Reg’l Adm’r, CMS (Dec. 30, 2005)
(transmitting State Plan Amendment [TNJ-05-011).
4 Intervenor Exhibit 4—Letter from David Balland, State Medicaid Dir., HHSC, to Andrew Fredrickson, Assoc. Reg’l
Adm’r, CMS (May 30, 2006) (response to RAI); Intervenor Exhibit 5—Letter from David Balland, State Medicaid
Dir., HHSC, to Andrew Fredrickson, Assoc. Reg’l Adm’r, CMS (June 30, 2006) (response to RAI).
5 Intervenor Exhibit 5 at 4.
6 The RAIs further specified “(e]xamples of the types of indigent care services the Affiliated Hospitals may provide
include inpatient and outpatient hospital services, specialty' physician services, pharmaceutical services, kidney
dialysis, dentistry, nursing hotline services, air ambulance services, emergency and on-call physician services, and
ophthalmology.” Id.

                                                         8
        providing indigent care. The Local Taxing Entity will utilize part of its ad valorem
        tax revenue dedicated to healthcare needs to fund the Medicaid program,... J

After more than a year of review, numerous RAI responses from HHSC, and multiple discussions

amongst hospital representatives, HHSC, and CMS national and regional staff, CMS approved the

Texas SPAs on July 26, 20068 and September 5, 20069 and began processing payments to private

hospitals.

        B.       The State, CMS, and Dallas and Tarrant County designed the public/private
                 collaborations to support and expand indigent care in compliance with the CMS
                 approved State plan.

        In July 2007, a number of private safety net hospitals in the Dallas area created the Dallas

County Indigent Care Corporation (DCICC), a Texas nonprofit corporation formed to provide and

otherwise arrange for the healthcare of Dallas County’s indigent population in the same manner

approved by CMS in 2OO6.10 With the exception of a limited number of employed professionals,

the community relies on independent physicians to treat indigent and low-income patients. The

Dallas collaboration increased the availability of independent physicians available to provide

indigent care directly to patients. Although the collaboration in Tarrant County started in 2009

(i.e. TCICC), two years later than the one in Dallas, the structure of the relationship and delivery

of care directly to low-income and needy patients is substantially similar to the charitable efforts

in Dallas.11




1 Id. at 4-5.
8 Intervenor Exhibit 6—Letter from Dennis Smith, Dir., CMS, to David Balland, State Medicaid Dir., HHSC (July 26,
2006) (approving TN 05-001).
9 Intervenor Exhibit 7—Letter from Dennis Smith, Dir., CMS, to Chris Traylor, State Medicaid Dir., HHSC (Sept. 5.
2006) (approving TN 05-011).
10 Intervenor Exhibit 8—DCICC Certificate of Formation (July 2, 2007).
11 Intervenor Exhibit 9—TCICC Certificate of Formation (Aug. 2, 2007).

                                                        9
         c.      CMS again reviewed and approved the model in 2007.

         One year after completing its initial formal approval. CMS audited hospital records relating

to the Medicaid supplemental payments and the financing source for the non-federal share.12 CMS

then deferred FFP while it expanded its review of the details of the collaborations between private

hospitals and governmental entities across the State, including the collaboration in Dallas

County.13 Both the governmental entity and the private hospitals in the Dallas public/private

collaboration submitted detailed records and responses related to their collaborative efforts to

HHSC and to CMS in response to the deferral.14 CMS also performed extensive document review

and on-site interviews with hospital executives.

        HHSC was again transparent and comprehensive in its descriptions of the Texas

arrangements. In support of the public/private collaborative arrangement, HHSC submitted

extensive legal analyses showing that the private hospitals’ election to provide indigent care

services directly to patients did not result in a provider-related donation because the services being

furnished by the private sector were not statutory or legal obligations of the governmental entities,

even when the services had historically been provided or paid for by a local governmental entity.15

HHSC reiterated the collaborative structure to CMS:

        [The governmental entity’s] contracts were terminated, after which the private
        hospitals, generally through a nonprofit healthcare organization, entered into new
        contracts with the providers .... With the [government entity’s] money no longer
        being spent under the terminated contracts, the district was able to make an IGT to
        fund increased Medicaid payments.16



12 Intervenor Exhibit 10—Letter from Lynn Ward, Fin. Mgmt. Specialist, CMS, to Chris Traylor, State Medicaid Dir.,
HHSC (Apr. 12, 2007).
13 Intervenor Exhibit 11—Letter from Bill Brooks, Assoc. Reg’l Adm’r, CMS, to Chris Traylor, Assoc. Comm’r for
Medicaid & CHIP. HHSC (Oct. 5, 2007) (Deferral Notice TX/2007/3/E/12/MAP).
14 Intervenor Exhibit 12—Memorandum from Thomas Dowdell et al. to CMS (Aug. 21,2007).
15 Intervenor Exhibit 13—Letter from Chris Traylor, Assoc. Comm’r for Medicaid & CHIP, HHSC, to Bill Brooks,
Assoc. Reg’l Adm’r, CMS (Feb. 4,2008) (response to Deferral Notice TX/2007/3/E/12/MAP).
16 Id. at 5.

                                                        10
         HHSC, Texas providers, and participating local government entities worked extensively

with CMS to formalize additional safeguards to ensure compliance with the Act and CMS

regulations.17 The parties jointly developed Conditions of Participation (CoPs) based on CMS’

explanation of its interpretation of the provider-related donation provisions in the Act.18 Notably,

the CoPs, approved by CMS as safeguards, specifically permitted a private hospital to provide

indigent care “by entering into its own arrangements (contractual or otherwise) with healthcare

providers that had previously provided indigent care services to the transferring governmental

entity.”19

         HHSC also revised the Private Hospital and Governmental Entity Certifications requested

by CMS which all participants under the Texas SPAs were required to execute. These documents

included assurances from governmental entities that they retained exclusive authority to determine

how much the governmental entity would provide as an IGT, or if it would provide any IGT at all,

and that the governmental entity was not requiring the hospitals to provide charity care services.

Similarly, the hospitals were required to certify that there was no quid pro quo arrangement under

which the governmental entity was obligated to IGT as a result of the amount or type of charity

care services in the community.20




17 Intervenor Exhibit 14—Letter from Chris Traylor, Assoc. Comm’r for Medicaid & CHIP, HHSC, to Janies Frizzera,
Fin. Mgmt. Grp. Dir., CMS (May 1,2008) (containing the Conditions of Participation that clearly identify limitations
for hospital participants for CMS’ review and approval).
'"/rf.
19 Id. at 4.
20 Intervenor Exhibit 15—Medicaid Supplemental Payment Program, Certification of Governmental Entity
Participation, HHSC, at 2-3 (Fiscal Year 2009); Intervenor Exhibit 16—Medicaid Supplemental Payment Program,
Certification of Hospital Participation. HHSC, at 1-3 (Fiscal Year 2009).

                                                         11
         With implementation of these and other safeguards, CMS reaffirmed its prior approvals of

the Texas public/private collaborations in July 2008 by lifting the deferral.21 Between 2008 and

2014, CMS did not raise any concerns about the public/private collaborations in Texas.

         D.      In 2010 and 2012, CMS approved SPAs in two other states that utilized identical
                 public/private collaborative models as the ones approved by CMS in Texas.

         Facing issues similar to Texas related to low Medicaid reimbursement and increasing

uninsured indigent population, Louisiana submitted its own SPAs to operate Medicaid

supplemental payment programs in which the State of Louisiana “joined with private safety-net

hospitals to design a collaborative program substantially similar to the one approved by CMS for

Texas.”22 During the SPA review process, Louisiana provided CMS clear disclosure of the

collaborative:

         The Private Hospitals will enter into their own arrangements (contractual or
         otherwise) with the individuals or entities who provide care directly to low income
         and needy patients, including individuals or entities that had previously provided
         low income and needy care services to the governmental entity.23

         To further illustrate how the hospitals would expand their charity care, Louisiana provided

examples of “the types of low income and needy care services the Private Hospitals may provide,

that were previously provided or paid for by a governmental entity”24 and clarified that the

provision of these example services “will result in the alleviation of the expense of the public funds

the governmental entity previously expended on this care.”25 Consistent with the law and all prior




21 See, e.g., Intervenor Exhibit 17—Email from Steve Aragon, Chief Counsel (July 11,2008, 18:10 CDT) (discussing
requirements to resume UPL payments following CMS’ lifting of the deferral). CMS lifted the deferral in July 2008.
See Intervenor Exhibit 18—Letter from Albert Hawkins, Exec. Comm’r, HHSC, to private hospitals and public
officials (July 29, 2008).
22 Intervenor Exhibit 19—Letter from Don Gregory, Medicaid Dir., La. Dep’t of Health & Hosps., to Bill Brooks.
Assoc. Reg’l Adm'r, CMS, at 1 (Aug. 20, 2010) (response to RAI).
23 Id. at 2.
24 Id.
25 Id. at 3.

                                                        12
action, CMS approved the Louisiana SPAs shortly thereafter on October 29, 2010 and November

2, 2010.26

        CMS also approved a SPA in Nevada in 2012,27 which was described by Nevada as “a

collaborative program substantially similar to the one approved by CMS for Texas.”28 In the

process of the application and CMS’ approval of the SPA, CMS again approved the concept that

private hospitals would provide charity services to patients who formerly received services from

providers that were paid by a governmental entity.29

        E.       In mid-2011, the OIG audited the Texas public/private collaborative model and
                 identified no violations of Medicaid statutes or regulations.

        In August 2011, the Department of Health & Human Services (HHS) Office of the

Inspector General (OIG) conducted an audit of the Texas collaborative programs to determine

whether the private sector’s provision of charity care to patients who previously received charity

care from a governmental entity constituted a provider-related donation, in violation of CMS

regulations.30 Once again, HHSC and the private hospitals submitted comprehensive responses to

inquiries and provided considerable documentation regarding their collaboratives. Not only did

the OIG decline to take action against any Texas collaborative or collaborative participant, the

OIG neither published any findings that would challenge the legal basis of the collaborative nor

notified HHSC of any remaining concerns.



26 Intervenor Exhibit 20—Letter from Bill Brooks, Dir., CMS, to Don Gregory, Dir., La. Dep’t of Health & Hosps.
(Oct. 29, 2010) (approving TN 09-56); Intervenor Exhibit 21—Letter from Cindy Mann, Dir., CMS, to Don Gregory,
Dir., La. Dep’t of Health & Hosps. (Nov. 2, 2010) (approving TN 09-55); Intervenor Exhibit 22—Letter from Cindy
Mann, Dir., CMS, to Don Gregory, Dir., La. Dep’t of Health & Hosps. (Nov, 2, 2010) (approving TN 10-26).
27 Intervenor Exhibit 23—Letter from Cindy Mann, Dir., CMS, to Michael Willden, Dir., Nev. Dep’t of Health &
Human Servs. (Nov. 7, 2011) (approving TN 10-002C).
28 Intervenor Exhibit 24—Letter from Charles Duarte, Adm’r, Nev. Dep’t of Health & Human Servs., to Mark Wong,
CMS, at 1 (Mar. 8, 2011).
29 Intervenor Exhibit 23.
30 Intervenor Exhibit 25—Letter from Patricia Wheeler, OIG Reg’l Inspector for Audit Servs., HHS, to Graham Reeve,
President, Bexar County Clinical Servs. (Aug. 1,2011).

                                                        13
         F.      In late 2011, CMS approved an 1115 Waiver involving the Texas public/private
                 collaborations.

         During the time of the OIG audit of the Texas collaborations. HHSC entered into and

successfully completed negotiations with CMS to implement the Texas Health Care

Transformation and Quality Improvement Program 1115 Waiver (Waiver). The current structure

of the Texas public/private collaborations was integral to the Waiver application,31 and Texas

made it clear to CMS during the negotiations that under the Waiver, private hospitals would

continue to engage or otherwise arrange for professional care givers to provide charity care to

patients who previously received similar care from a governmental entity, and governmental

entities would continue to finance the State share of some of the Waiver payments. CMS approved

the Waiver on December 12, 2011.32

        G.       In 2014, CMS reversed course, indicating for the first time that the provision by
                 a private provider of charity care that had previously been furnished by a
                 governmental entity constituted a non-bona fide provider related donation.

        On May 9, 2014, during intense discussions between the federal government and states

over the acceptance of Medicaid expansion, CMS released SMDL #14-004. In SMDL #14-004,

CMS pronounced a complete reversal regarding public/private collaborations that would

completely undermine the Texas, Louisiana, and Nevada public/private collaborative programs

CMS had approved in the prior eight years. In SMDL #14-004, CMS went outside the scope of

the Act and its regulations and eviscerated longstanding policy in declaring there was no need to

conduct the statutorily defined test to determine whether a provider-related donation existed. In

SMDL #14-004. CMS broadly asserted that any private entity that performs services that were, at



31 Intervenor Exhibit 26—HHSC, Texas Health Care Transformation and Quality Improvement Program Medicaid
 1115 Waiver Proposal, at 11 (July 13, 2011) (explaining the non-federal share of Waiver pool expenditures will be
financed by intergovernmental transfers voluntarily made by local governmental entities).
32 Intervenor Exhibit 27—Letter from Marilyn Tavenner, Adm’r, CMS, to Billy Millwee, State Medicaid Dir., HHSC
(Dec. 12,2011) and accompanying Special Terms & Conditions at 43-44.

                                                        14
any time in the past, provided by a governmental entity is assuming a “programmatic

responsibility” of the governmental entity and has therefore made a non-honafide provider-related

donation. In SMDL #14-004, CMS did not reconcile or explain its shift to a “programmatic

responsibility” test from the “legal or contractual obligation” standard in effect since 2006. SMDL

#14-004 purported to create a universal prohibition on any private entity providing charity care

that a governmental entity had ever furnished—regardless of whether the governmental entity

discontinued the service for budgetary reasons, only performed the services on a one-time basis

(such as health screenings or free mammograms), or discontinued the services on any grounds

because to do so as a private entity now constitutes a non-bona fide provider-related donation.

        H.       After using SDML #14-004 to call into question the public/private collaborative
                 programs, CMS approved three SPAs in an expansion state that utilize the same
                 conceptualframework for a public/private collaboration.

        On three occasions after issuing SMDL #14-004, CMS approved arrangements in

Louisiana that are similar to the Texas public/private collaborative arrangements. On December

23, 2014—six months after releasing SMDL #14-004—CMS approved a Louisiana SPA wherein

Louisiana private hospitals agree to expand their charity services by taking over all services

previously paid for and/or furnished by the State. ’3 In return, the State agreed to pay each hospital

100% of their Medicaid Disproportionate Share Hospital (Medicaid DSH) cap.34 In November

2016, CMS approved a second SPA, reaffirming Louisiana’s 2014 SPA, whereby private hospitals

would increase their “Medicaid and uninsured services by providing services that were previously




33 DHH Receives Final Federal Approval for Public-Private Partnerships, La. DEPT. OF HEALTH (Dec. 23, 2014),
http://dhh.louisiana.gOv/index.cfm/newsroom/detail/3195 ; State Health Officials Announce Landmark Public-Private
Partnership Agreements for LSU Hospitals, LA. Dept. OF HEALTH (Dec. 10, 2012), http://dhh.louisiana .
gov/index.cfm/newsroom/detail/2722.
34 Intervenor Exhibit 28—La. Dep’t of Health & Hosps., Responses to Informal Request for Additional Information
TN 14-25 (June 17,2014).

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delivered and terminated or reduced by a state owned or operated facility.”35 CMS issued the

November 2016 SPA approval two months after disallowingfunds in Texas.

         In 2016, CMS approved a third Louisiana SPA that conditioned Medicaid payments on a

hospital entering a Memorandum of Understanding (“MOU”) with the State-owned medical school

(“LSU”).36 Those MOUs require the private hospitals to make “academic support payments” to

LSU to broadly support their academic endeavors.37 LSU, in return, agrees to provide IGTs to

fund the non-federal share of the Medicaid DSU payments made to the private hospitals.38

Therefore, in 2014 and in 2016, CMS approved three separate SPAs under which private hospitals

pay for services or responsibilities once held by a governmental entity, and that governmental

entity uses its savings to subsequently finance Medicaid payments for those hospitals.

         These three post-SMDL //14-004 Louisiana SPAs are in addition to the 2010 Louisiana

SPAs referenced in Section D above, where CMS first approved a Louisiana “collaborative

program substantially similar to the one approved by CMS for Texas.”39 The Louisiana programs

CMS authorized in 2010 are still operating today, after CMS performed substantial on-site auditing

of the programs in 2012. CMS also reapproved the Louisiana 2010 SPAs in December 2014 as

part of its approval of Louisiana SPA 14-25 (discussed above), after specifically asking Louisiana

about the impact of SMDL #14-004 on those 2010 programs.40 CMS re-approved the Louisiana



35 Intervenor Exhibit 29—Letter from Kristin Fan, Dir., CMS, to Jen Steele, Dir., La. Dep’t of Health (Nov. 30,2016)
(approving TN 16-0014).
36 Intervenor Exhibit 30—Letter from Kristin Fan, Dir., CMS, to Jen Steele, Dir., La. Dep’t of Health (Nov. 16,2016)
(approving TN 16-0018).
37 Intervenor Exhibit 31—Memorandum of Understanding by and between Willis-Knighton Medical Center, a
Louisiana nonprofit corporation, the State of Louisiana through the Division of Administration, and the Board of
Supervisors of Louisiana State University and Agricultural and Mechanical College through its LSU Health Sciences
Center, Shreveport, at 2 (Sept. 11,2016).
38 Intervenor Exhibit 32—Letter from Jen Steele, Dir., La. Dep’t of Health, to Bill Brooks, Assoc. Reg’l Adm’r. CMS
(Sept. 15,2016) (response to RAI question #8. at 6).
39 Intervenor Exhibit 19.
40 See generally, Intervenor Exhibit 28; Intervenor Exhibit 33—Letter from Timothy Hill. Dir., CMS, to Ruth
Kennedy. Dir., La. Dep’t of Health & Hosps. (Dec. 23, 2014) (approving TN 14-25).

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2010 public/private collaborative SPA in November 2016 under the federal approval of SPA 16-

0018.41

II.       Standard of Review

          In a proceeding before the Board, the federal agency has the burden to articulate clearly

the basis of the disallowance.42 In its review, the Board “shall be bound by all applicable laws and

regulations.”43

                                               ARGUMENT

          The Board should reverse CMS’ disallowance in its entirety because (I) none of the

hospitals in Dallas or Tarrant County gave a payment in cash or in kind, directly or indirectly, to

any governmental entity nor paid for an obligation of a governmental entity and, therefore, did not

violate the provider-related donation statute or regulations; (II) CMS exceeded its statutory

authority in attempting to redefine a “provider-related donation” through SMDL #14-004 and the

Texas disallowance; (III) relying on SMDL #14-004 as the basis for the disallowance violates the

APA and is arbitrary and capricious.

          CMS’ disallowance has no legal basis because the public/private indigent care
          collaborations comply with federal provider-related donation law.

          CMS has not presented any evidence that in expanding charity care to indigent patients,

DC1CC or TCICC or any of their member hospitals assumed any legal obligation of a

governmental entity or otherwise gave any governmental entity anything of value. The Act and

implementing regulations define a provider-related donation as: (1) a donation or other voluntary

payment (whether in cash or in kind), (2) made (directly or indirectly) to a state or unit of local




41 Intervenor Exhibit 30.
42 Dept, appeals Board, Appellate Division Practice Manual, mailable at https://www.hhs.gov/about/
agencies/dab/different-appeals-at-dab/appeals-to-board/practice-manual/index.htmW 18 (last visited May 24,2017).
43 45 C.F.R. § 16.14; Hawaii Dep’t of Human Services Board, DAB No. 1981, at 28 (2005).
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government, (3) by a healthcare provider or related entity.44 CMS, in the preamble to its May 29,

2007 final rule, recognized that the pivotal issue in assessing compliance with provider-related

donation regulations was whether a private hospital provides services that are the legal obligation

of a governmental entity.45 In 2008, CMS agreed through the release of its deferral that the

existence of a government legal obligation is the threshold decision as to whether the provision of

a service by a private provider constitutes a provider-related donation.46 CMS concluded that

limiting the examination to the existence of a legal obligation to define when a provider-related

donation occurs is vital because any other standard leads to a murky area that is impossible to

define, audit, or enforce.47

         In determining whether the public/private collaborations comply with federal law, it is,

therefore necessary to distinguish between legal obligations and historical practices of local

governmental entities in order for CMS’ disallowance to be enforceable.48 Otherwise, private

hospitals have no ability to determine whether their actions represent “fundfing] contracts

previously held by the local governments” (which CMS disallowed in Texas in September 2016)

or “providing services that were previously delivered and terminated or reduced by a state owned

and operated facility” (which CMS approved in Louisiana in November 2016).




44 42 U.S.C. § 1396b(w)(2)(A); 42 C.F.R. § 433.52 (emphasis added).
45 “Local government tax dollars that are not contractually committed for the purpose of indigent care services or any
other non-Medicaid activity can be directly transferred by the local government to a State as the non-Federal share of
Medicaid payments.” Cost Limit for Providers Operated by Units of Government and Provisions to Ensure the
Integrity of Federal-State Financial Partnership, 72 Fed. Reg. 29748,29,762-99 (May 29,2007) (subsequently vacated
on other grounds). CMS also explained a provider-related donation would result if a private hospital provides services
“which were otherwise State only or local government only obligations.” Id.
46 Intervenor Exhibit 17 (outlining required next steps to resume Texas’ UPL program following CMS’ release of the
deferral).
47 Intervenor Exhibit 14 (stating the Texas programs will be “governed by the criteria referred to previously and
attached to this letter” (i.e. may not fulfill a legal obligation)).
48 See, e.g., Groyned v. City of Rockford, 408 U.S. 104, 108 (1972) (“[I]f arbitrary and discriminatory enforcement is
to be prevented, laws must provide explicit standards for those who apply them.’’).

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         In Texas, there is no evidence that any private hospital ever made a “donation or other

voluntary payment (in cash or in kind)” directly or indirectly to the State or a governmental entity.

The documents CMS relied upon in issuing the disallowance clearly show private hospitals gave

funds to a nonprofit corporation whose members are private hospitals to provide or otherwise

arrange for healthcare directly to individuals who receive charity care, which is exactly the action

CMS approved in the numerous SPAs in Texas, Louisiana, and Nevada. None of the documents

referenced by CMS in its denial evidence payment in cash or in kind by any private entity to a unit

of local government.

         Similarly, the private hospitals have not assumed a legal obligation of a governmental

entity. The private hospitals went to great lengths to ensure that they did not furnish any charity

services that were a statutory or contractual obligation of a governmental entity. The hospitals and

governmental entities also ensured there was no linkage between the Medicaid payments the

hospitals received and the indigent care services they provided. Specifically, Texas designed the

public/private collaboration (based on CMS review and direction) to operate on two separate, but

parallel, tracks under which the governmental entity has sole discretion whether it wants to use

any tax revenue for the Medicaid program and, independently, the private hospitals have the sole

discretion over the amount of charity care they provide.49

         There is no legal authority supporting an argument by CMS that the private hospitals

assumed a governmental entity's statutory or contractual obligation to provide charity care; no

such statutory obligation exists for governmental entities in Texas. Texas statutes and regulations

specifically and intentionally do not impose an obligation on local governmental entities to provide



49 See, e.g.. Intervenor Exhibit 14, at 5 (stating in the attachment Prospective Conditions of Participation that private
hospitals may consider the expected amount of supplemental payments when determining the level of charity care to
provide and governmental entities may consider historical charity care provided by private hospitals when determining
whether, and in what amount, to 1GT).

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all indigent care.      Rather, the Texas Indigent Health Care & Treatment Act governs the

responsibilities of hospital districts in Texas. The Texas Legislature explicitly contemplated

language requiring a “hospital district shall provide the basic health services,” but in 1999, the

legislature replaced the language with a lessor standard requiring the hospital district to “endeavor

to provide” basic health services.50 This deliberate legislative language demonstrates the Texas

Legislature recognized local entities did not have the fiscal resources to provide every basic

healthcare service to every person in their community in perpetuity. CMS’ belief that this is the

case in Texas (or anywhere in the United States) is erroneous. The clear legislative language and

basic common sense confirm a hospital district is not legally obligated to provide any healthcare

services to indigent patients in perpetuity. Therefore, the private hospitals’ provision of charity

care to indigent patients is not a benefit to the hospital district because it does not relieve a legal

obligation of the hospital district, provided the hospital district does not have a contract to provide

these services to the same patients receiving care under private providers. Instead, the provision

of charity care is an independent undertaking by private providers that benefit the patient receiving

the care.

        CMS’ argument that the past practice of a governmental entity electing to pay for certain

services creates a “programmatic responsibility” to continue to provide the same services forever

has no basis in law. Hospital districts—like any other person, corporation, or governmental

entity—have discretionary authority to decide what services to provide, how to provide those

services, whether to enter into a contract with a third party to provide services or hire employees,

and whether to renew or terminate a contract with a particular third party or employee. In order to

argue the public/private collaborative creates a provider donation, CMS infers a legal


50 Intervenor Exhibit 34—1999 Tex. Sess. Law Serv. 14, at 21 (West) (effective Sept. 1, 1999), codified at TEX.
Health & Safety Code § 61.055(a) (2005).

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“responsibility” on local government entities to continue to provide the same care and employ the

same people to provide that care in perpetuity.

         CMS essentially says Texas local government entities have a moral responsibility to

continue any previous practices.             However, if CMS prohibits a governmental entity from

discontinuing charity services for fear of creating an alleged provider-related donation, CMS is—

in essence—creating an ongoing legal obligation for governmental entities to provide the same

amount and type of service forever. Consequently, governmental entities that support both

indigent patients who are not eligible for Medicaid services and also support the Medicaid program

(including the State) could never choose to reduce the parameters of a public welfare program,

whether due to policy reasons or budget necessities, in a manner that shifts some of the historical

financial responsibility for care from the government to the private sector.

n.       CMS exceeds its statutory authority by changing what constitutes a “provider-related
         donation.”

         A.       SMDL Hl 4-004 contradicts the Social Security Act by ignoring the statutory test
                 for a provider-related donation.

         In determining whether an agency has exceeded its statutory authority, the analysis will

“necessarily entailf] a firsthand judicial comparison of the claimed excessive action with the

pertinent statutory authority.”51 To begin, the analysis will assess the “scope of the [agency’s]

authority and discretion.”52 The determination then shifts to whether the agency’s action falls

within its scope of authority.53 The Act confers certain authority to CMS, specifically stating the

“Secretary may by regulation specify the types of provider-related donations . . . that will be



51 Louisiana Forestry Assoc. Inc. v. Sec 'y United Slates Dep't. of Labor, 745 F.3d 653, 679 (3d Cir. 2014) (citation
omitted).
52 Citizens to Preserve Overton Park, Inc. v. Folpe, 401 U.S. 402,415—16 (1971 )(citingSchillingv. Rogers, 363 U.S.
666, 676-77 (1960)), abrogated on other grounds by Califano v. Sanders, 430 U.S. 99 (1977).

53 See, e.g., NH. Hosp. Assoc, v. Burwell, No. 15 Civ. 460 (D.N.H. Mar. 2,2017).

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considered to be bonafide provider-related donations.”54 This provision evidences Congress’ plain

intent that CMS’ authority pertains only to clarifying the types of provider-related donations that

will be considered bonafide (i.e., once a provider-related donation has been deemed to exist, CMS

only then looks to determine whether the provider-related donation is permissible). The Act does

not allow CMS to redefine “provider-related donation” or disregard the threshold requirement of

identifying a provider-related donation.

         In the Texas disallowance, CMS relies on SMDL #14-004 as its sole support to disregard

the threshold requirement of identifying an action that constitutes a provider-related donation to a

governmental entity.         Instead, SMDL #14-004 assumes that any collaboration between a

governmental entity and a private entity creates a provider-related donation/ ’’ Consequently, this

policy—and any implementation in Texas through the disallowance—is inconsistent with the Act

and is unlawful.56

         B.      CMS contradicts the Social Security Act by including arrangements not
                 contemplated or sanctioned by Congress as constituting a provider-related
                 donation.

         As set forth above, a provider-related donation is defined as (1) any donation or voluntary

payment (whether in cash or in kind) (2) made (directly or indirectly) to a State or unit of local

government (3) by a healthcare provider or related entity.57 CMS attempts to institute a new

standard for supporting the existence of a provider-related donation by applying a “programmatic

responsibility”58 or “financial responsibility”59 test to determine whether a provider-related



54 42 U.S.C. § 1396b(w)(2) (emphasis added).
55 Intervenor Exhibit 1 (“Government entities are free to enter into agreements with private entities; however, such
agreements may affect the allowability of Medicaid funding if there is a hold harmless provision or practice.”).
56 5 U.S.C. § 706(2)(C).
57 42 U.S.C. § 1396b(wX2)(A).
58 Intervenor Exhibit 1, at 4.
59 Intervenor Exhibit 35—Letter from Bill Brooks, Assoc. Reg’l Adm’r, CMS, to Jami Snyder, Assoc. Comm’r for
Medicaid and CHIP, HHSC, at 2 (Sept. 1,2016) (Disallowance Notice TX/20I6/001/MAP).

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donation exists. The Act’s plain language and underlying congressional intent, however, do not

permit CMS to articulate alternative tests to determine whether a provider-related donation exists

inconsistent with the Act and implementing regulations. Once a provider-related donation is found

to exist under the statutory scheme, the Act and CMS regulations detail how to determine whether

such donation constitutes a bona fide donation. Perhaps because of its statutory limitation, CMS

attempted to forego the threshold test for the determination of a bona fide (or non-bona fide)

donation.

         If CMS is permitted to expand the Act’s definition of a provider-related donation to include

additional tests, the “programmatic responsibility” and “financial responsibility” standards are

unlawful because they do not create an ascertainable standard of enforcement.60 CMS gives no

indication of how a private hospital would be able to determine whether its actions violate CMS’

standard. For instance, would the private hospital be able to contract for the same services but

through a different provider? If an indigent patient received primary care from a governmental

entity’s outpatient clinic, would the private hospital’s later treatment of that patient for primary

care result in a provider-related donation?                 Applying the “programmatic responsibility” or

 financial responsibility” test posited by CMS leads to an impossible standard to follow for

patients, states, local governments, the federal government, and providers and that puts the well-

established indigent care safety net in Texas. Louisiana and Nevada at risk.




60 E.g., Coates v. City ofCincinnati, 402 U.S. 611,614 (1971); Gentile v. State Bar ofNevada, 501 U.S. 1030 (1991);
Groyned v. City ofRockford, 408 U.S. 104,108-09 (1972) (“A vague law impermissibly delegates basic policy matters
to policemen, judges, and juries for resolution on an ad hoc and subjective basis, with the attendant dangers of arbitrary
and discriminatory application.”).

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III.     CMS’ reliance on SMDL #14-004 violates the APA.

         SMDL #14-004 is subject to review under the APA because it constitutes “final agency

action” under the two-prong test articulated by the Supreme Court.61 First, SMDL #14-004

represents “the ‘consummation’ of the agency’s decisionmaking [sic] process” because CMS uses

affirmative and definitive language when discussing its future SPA approvals and disallowances.62

Second, CMS clearly intends for “legal consequences” to flow from SMDL #14-004, as evidenced

by CMS’ reliance on the letter as its basis for the current Texas disallowance.63

         Agencies have authority to create two types of rules: legislative and interpretive rules.64

Legislative rules have the force and effect of law and “impose legally binding obligations or

prohibitions on regulated parties.”65 Due to the binding nature of these rules, agencies must use

formal rulemaking procedures to promulgate legislative rules.66 Conversely, interpretive rules

advise the public of how the agency interprets statutes and regulations and “do not have the force

and effect of law and are not accorded that weight in the adjudicatory process.”67 If a rule is

inconsistent with a prior legislative rule, like a regulation, then the second rule is also legislative

because it effectively amends the regulation.68 An agency may not circumvent the required

rulemaking procedure simply by labeling its statement or action as an interpretation.69 If an




61 5 U.S.C. § 704; Bennett v. Spear, 520 U.S. 154 (1977).
62 See Bennett, 520 U.S. at 177-78.
63 Id.
M “Legislative rules” are also referred to as “substantive rules.” Eg., White v. Shalala, 7 F.3d 296, 303 (2d Cir. 1993).
65 Perez v. Mortgage Bankers Assoc., 135 S. Ct. 1199, 1219, n.4 (2015) (Thomas, J. concurring).
66 5 U.S.C. § 553.
67 Perez, 135 S. Ct. at 1203-04 (majority opinion). Interpretive rules are exempt from the notice-and-comment
rulemaking requirements. 5 U.S.C. § 553.
68 E.g., SBC Inc. v. F.C.C., 414 F.3d 486, 497-98 (3d Cir. 2005) (citations omitted); see also Shalala v. Guernsey
Mem'l Hosp., 514 U.S. 87, 100 (1995) (“We can agree that APA rulemaking would still be required if PRM § 233
adopted a new position inconsistent with any of the Secretaiy’s existing regulations.”).
69 E.g., Appalachian Power Co. v. EPA, 208 F.3d 1015, 1024 (D.C. Cir. 2000); see also Lewis-Mota v. Secretary of
Labor, 469 F.2d 478, 481-82 (2d Cir. 1972) (citing Columbia Broadcasting System, Inc. v. United States, 316 U.S.
407, 416(1942))(courts are more concerned with the effect or operation of the rule).

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agency’s rule does not go through the appropriate rulemaking procedure, it is unlawful and must

be set aside.70

         In a similar case, the Sixth Circuit set aside an Ohio SPA disapproval because HHS’

claimed “clarifying guidance” was inconsistent with existing regulations and did not go through

formal rulemaking.71 The Sixth Circuit concluded that HHS’ new requirement in the “clarifying

guidance” was inconsistent with both the regulation’s language and the agency’s own practice.72

For these reasons, the court held that HHS’s new clarifying guidance must go through notice and

comment rulemaking.

         SMDL #14-004 is contrary to CMS’ regulation because it omits the threshold requirement

of identifying a “provider-related donation” and is inconsistent with CMS' prior approvals of the

two Texas SPAs, the Texas 1115 Waiver, the three Louisiana SPAs and the Nevada SPA;

therefore, SMDL #14-004 is an improperly promulgated “legislative rule” and CMS may not rely

on it to disallow Texas Medicaid payments.

         CMS’ disallowance is also arbitrary and capricious because CMS fails to support its

allegation that the Dallas and Tarrant collaborative arrangements constitute non-bona fide

provider-related donations and because CMS’ disallowance is inconsistent with its prior and

subsequent program approvals without any change in current law or fact.73 The APA requires a

federal agency to “examine the relevant data and articulate a satisfactory explanation for its action




70 5 U.S.C. § 706(2)(D).
71 Ohio Dept, of Human Sens. v. HHS, 862 F.2d 1228 (6th Cir. 1988).
72 Id. (concluding that if HHS’ new clarifying guidance were consistent with the regulation, “the agency presumably
would not have [previously] approved... an Ohio plan admittedly inconsistent with [the regulation].”).
73 5 U.S.C. § 706(2)(A). '

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including a ‘rational connection between the facts found and the choice made.’”74 Additionally,

an agency’s action will be found arbitrary and capricious if it applies its policies inconsistently.75

         The record does not support CMS’ conclusion that the private hospitals' provision of

charity care to indigent patients in the Dallas and Tarrant communities creates a provider-related

donation. Moreover, CMS has not identified any data supporting its decision for why the private

hospitals’ actions would be impermissible in 2016 but compliant with federal Medicaid statutes

and regulations in 2006 or 2008 or 2011 when CMS previously reviewed and approved the

public/private charity collaboratives in Texas and in 2010, 2011, 2014, and 2016 when CMS

approved public/private charity collaboratives in Louisiana and Nevada. For those reasons, it is

clear that “the fundamental nexus between evidence and agency action is absent.”76

         Without any change in relevant laws or regulations, CMS is applying a different standard

today than it previously applied at least seven times. In addition, CMS is applying different

standards to Texas than it is applying to other states over the same time period - issuing a

disallowance in Texas while approving substantially similar public/private collaborative efforts in

Louisiana. Therefore, CMS’ disallowance is “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law,” and the Board should hold the disallowance unlawful.77




74 St. James Hosp. v. Heckler. 760 F.2d 1460, 1465 (7th Cir. 1985) (quoting Motor Vehicle Mfrs. Assoc, v. State Farm
Mutual Auto. Ins. Co., 463 U.S. 29 (1983)).
75 See. e.g., Encino Motorcars, LLC v. Navarro, 136 S.Ct. 2117, 2126 (2016) (“An unexplained inconsistency in
agency policy is a reason for holding [the action] to be an arbitrary and capricious change from agency practice.”
(internal citations and quotations marks omitted)); State ex rel. White v. Parsons, 199 W.Va 1 (1996) (“[A]n agency
may not act in such a way as to result in disparate or inconsistent treatment of similarly situated parties, and to adopt
different standards for similar situations is to act arbitrarily.” (citation omitted)).
76 Humana ofAurora, Inc. v. Heckler, 753 F.2d 1579,1582 (1 Oth Cir. 1985) (denying agency intervention because the
evidence was contrary to the administrative action).
77 5 U.S.C. § 706(2)(A).

                                                           26
                                     CONCLUSION

       Based on the foregoing, Intervenors respectfully request that the Board reverse CMS’

disallowance in its entirety.

                                          Respectfully Submitted,




                                          —      /------------ ----------------------------------------
                                          ON BEHALF OF BAYLOR HEALTH CARE
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                                          DALLAS, AND TEXAS HEALTH RESOURCES

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